     Case 5:21-cv-00730-JWH-SHK Document 1 Filed 04/23/21 Page 1 of 15 Page ID #:1




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 4
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 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11   ERIN LARKIN,               )               CASE NO. CV
                                )
12        Plaintiff,            )               COMPLAINT FOR DAMAGES FOR
                                )               RETALIATION
13        v.                    )
                                )               42 U.S.C. § 12101 et seq.
14   TEMECULA VALLEY UNIFIED    )               29 U.S.C. § 504(a)
     DISTRICT, A Local          )
15   Educational Agency,        )
                                )
16        Defendant.            )
     ___________________________)
17
18
           Plaintiff ERIN LARKIN, presents her complaint as
19
     follows:
20
                         JURISDICTION AND VENUE
21
            1. Plaintiffs brings her complaint for damages
22
     against Defendant Temecula Valley Unified School District
23
     (“TVUSD”) for its retaliation against her under the
24
     Americans with Disabilities Act, 42 U.S.C. § 12101, et
25   seq. and 29 U.S.C. § 504 of the Rehabilitation Act of
26   1973 for her advocacy and help to her daughter, Kylie
27   Larkin, an individual with a disability and for
28   Plaintiff’s attempts to protect Kylie Larkin’s rights.


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     Case 5:21-cv-00730-JWH-SHK Document 1 Filed 04/23/21 Page 2 of 15 Page ID #:2




 1         This Court has jurisdiction of those actions under 28
 2   U.S.C. §§ 1331 and 1343.
 3                                   VENUE
 4          2. Venue is proper in the Central District of
 5   California under 28 U.S.C. § 1391(b) because Defendant is
 6   located in this district and the claims arose in this
 7   district.
 8          3. Exhaustion of administrative remedies is not
 9   required in this matter, as Plaintiff has and had no
10   issues under the Individuals with Disabilities Education
11   Act/IDEA.
12                                THE PARTIES
13          4. ERIN LARKIN is the parent of a student, Kylie
14   Larkin, who was eligible for special education in
15   Temecula Valley Unified School District until the time
16   that she was given a high school diploma.                   Kylie Larkin
17   is not a party to this matter nor was a party to the case
18   filed by Temecula Valley Unified School District in
19          5. Currently, and at all times relevant to this
20   action, Kyle Larkin (“Kylie”), was and is a “qualified

21   person with a disability” within the meaning of ADA. See

22   42 U.S.C. § 12131 (2)

23          6. Defendant Temecula Valley Unified School District

24   (“TVUSD”) is, and at all times herein mentioned was a

25   school district duly organized and existing under the

26
     laws of the State of California as a Local Educational

27
     Agency (LEA).        As an LEA, TVUSD had the responsibility

28
     for providing special education to Kylie Larkin during


                                             2
     Case 5:21-cv-00730-JWH-SHK Document 1 Filed 04/23/21 Page 3 of 15 Page ID #:3




 1   the period she was eligible for special education as
 2   required by IDEA and State law.              During that time, TVUSD
 3   had a duty to comply with all mandates of the ADA,
 4   including a duty to refrain from retaliation against any
 5   individual, including Plaintiff, who testified, assisted,
 6   or participated in any manner in an investigation,
 7   proceeding, or hearing under the ADA.
 8          7. TVUSD is and at all times relevant to this action
 9   was responsible for accommodating the disabilities
10   of students enrolled in District schools and responsible
11   for ensuring that District employees comply with ADA and
12   Section 504 of the Rehabilitation Act of 1973.
13         8.    As a local educational agency (“LEA”),TVUSD had a
14   duty to refrain from retaliation against any individual
15   who assisted Kylie or who attempted to protect Kylie’s
16   rights in any way.         That duty extended to Plaintiff who,
17   as Kylie’s mother, assisted her at the IDEA due process
18   hearings and in the District Court matter filed by TVUSD,
19          9. Defendant TVUSD is and at all times relevant to
20   this action was a public entity within the meaning of

21   Title II of the ADA.

22         10. Defendant TVUSD is and at all times relevant to

23   this action was a recipient of federal funding within the

24   meaning of the Rehabilitation Act.

25                           STATEMENT OF FACTS

26
           11. Plaintiff’s daughter, Kylie Larkin (“Kylie”), was

27
     a resident of and student in Temecula Valley Unified

28
     School District (“TVUSD”).              As a student with a


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     Case 5:21-cv-00730-JWH-SHK Document 1 Filed 04/23/21 Page 4 of 15 Page ID #:4




 1   disability, Kylie was entitled to special education
 2   services under the Individuals with Disabilities
 3   Education Act or “IDEA” and was entitled to an
 4   Individualized Education Plan or “IEP” under IDEA and
 5   State law.        In 2016, Kylie filed a due process complaint
 6   with OAH regarding her rights under IDEA. In that matter,
 7   Kylie was assisted by a non-attorney educational
 8   advocate, Theresa Sester.            The complaint was heard by and
 9   through the California Office of Administrative Hearings,
10   known as “OAH” and was identified as Student v. Temecula
11   Valley Unified School District, Case No. 2016060313.
12         12. At no time was Plaintiff identified as the
13   petitioner or as a party in the OAH due process
14   complaint.       The OAH complaint was filed on behalf of
15   Plaintiff’s daughter, who was named as the sole
16   “Petitioner” in that complaint.
17         13. No document filed with OAH bore Plaintiff’s name
18   as a party or party representative or attorney-in-fact in
19   that matter.
20         14. TVUSD, hired the law firm of Danis, Woliver,

21   Kelley to represent it as the respondent in Case No.

22   2016060313.       That firm, and the attorney defending TVUSD

23   in that case, Sarah Sutherland, received multiple notices

24   from OAH regarding the filings and orders in that case.

25   Each time service of the any orders in that case was sent

26
     to the parties, the proof of service, if directed to a

27
     party, indicated service on TVUSD and Kyle Larkin.

28
           15. Never once did OAH serve any order or other


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     Case 5:21-cv-00730-JWH-SHK Document 1 Filed 04/23/21 Page 5 of 15 Page ID #:5




 1   document in OAH Case No. 2016060313 on Plaintiff.
 2         16. The OAH matter was bifurcated so that the
 3   administrative law judge (“ALJ”) could determine “whether
 4   all of Student's claims are barred by the statute of
 5   limitations, and specifically, whether an exception to
 6   the two-year statute of limitations applies because
 7   Parent and Student were prevented from timely requesting
 8   the due process hearing.”            (AR p. 345)        Hearing was held
 9   on four days in September and October 2016.
10         17. During the first portion of that bifurcated
11   matter, Plaintiff, Kylie’s mother, was asked by her
12   daughter to sit in on the hearing.               Plaintiff was not a
13   party, party representative or party representative
14   employee, or attorney-in-fact for her daughter, yet she
15   attended each day of the four-day hearing.
16         18. Plaintiff never directed Kylie’s advocate as to
17   what to do or what actions to take in OAH Case No.
18   2016060313.       Instead, she testified, assisted, and
19   participated in the OAH hearing to assist Kylie in
20   pursuing her rights under IDEA.

21         19. In a Decision issued on November 28, 2016, the

22   OAH ALJ determined that one issue - and a portion of each

23   of two other issues - could be heard in the portion two

24   of the bifurcated hearings.                A second due process

25   hearing was scheduled to hear those remaining issues.

26
           20. The second part of the bifurcated hearing in OAH

27
     Case No. 2016060313 was heard over five days in February

28
     and March 2017.        At that hearing, Plaintiff’s daughter


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     Case 5:21-cv-00730-JWH-SHK Document 1 Filed 04/23/21 Page 6 of 15 Page ID #:6




 1   was represented by Attorney Wendy Housman, whom Kylie had
 2   hired for the second OAH hearing.
 3         21.    Again, Plaintiff attended the hearing at
 4   the request of her daughter.               As in the first hearing,
 5   Plaintiff was not a party, party representative or party
 6   representative employee, or attorney-in-fact for her
 7   daughter.
 8         22. Plaintiff never directed Kylie’s attorney as to
 9   what to do or what actions to take in the second portion
10   of OAH Case No.2016060313.
11         23. On April 13, 2017, the ALJ issued her Decision
12   on the second bifurcated portion of the case finding
13   against the Student/Petitioner on each of the issues
14   raised.
15         24. On July 11, 2017 Kylie Larkin, through her
16   attorney, Wendy Housman, filed a timely appeal/complaint
17   for reversal of the April 13, 2017 OAH Decision.                    That
18   action was entitled Kylie Larkin v. Temecula Valley
19   Unified School District, Case No. EDCV 17-01381 JGB
20   (KKx).      No conservator or guardian ad litem had been or

21   was appointed for Kylie Larkin in that matter, and no

22   individual had any authority to act on behalf of Kylie in

23   that matter.

24         25. Plaintiff was not a named party or a legal

25   representative, i.e., conservator or attorney-in-fact,

26
     for Kylie in Kylie Larkin, Student v. Temecula Valley

27
     Unified School District.             At no time during that case

28
     was anyone appointed to act for Kylie nor did she ever


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     Case 5:21-cv-00730-JWH-SHK Document 1 Filed 04/23/21 Page 7 of 15 Page ID #:7




 1   provide anyone, including Plaintiff, with the authority
 2   to act on her behalf in that matter.
 3         26. Plaintiff never directed Kylie’s attorney as to
 4   what to do or what actions to take in Kylie Larkin,
 5   Student v. Temecula Valley Unified School District.
 6         27. For the District Court case, TVUSD retained the
 7   same attorney firm that had represented it in both OAH
 8   due process hearings.          Sarah Sutherland, of Danis,
 9   Woliver, Kelley, again represented TVUSD.                 As the
10   attorney for TVUSD, Sarah Sutherland received and should
11   have been aware of all filed pleadings and orders from
12   the District Court.
13         28. At no time during the pendency of Kylie Larkin,
14   Student v. Temecula Valley Unified School District did
15   Kylie Larkin, the District Court, or anyone else
16   indicate in any manner that anyone other than Kylie was
17   the plaintiff, was authorized to made decisions for the
18   Kylie, or was appointed as conservator or guardian ad
19   litem for Kylie.
20         29. During the pendency of Kylie Larkin v. Temecula

21   Valley Unified School District, Plaintiff continued to

22   provide information to Kylie’s attorney, Wendy Housman,

23   as necessary.         Plaintiff made no decisions regarding the

24   District Court case and was never given authority to do

25   so.

26
           30. On June 12, 2018, the Court affirmed the OAH

27
     Decision that found in favor of TVUSD.

28
           31.    TVUSD and its counsel made no motion or claims


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     Case 5:21-cv-00730-JWH-SHK Document 1 Filed 04/23/21 Page 8 of 15 Page ID #:8




 1   under IDEA for any attorney’s fees against Kylie Larkin
 2   or her attorney in Kylie Larkin v. Temecula Valley
 3   Unified School District, Case No. EDCV 17-01381 JGB
 4   (KKx).
 5         32. TVUSD did file a complaint against Kylie Larkin’s
 6   attorney and Plaintiff on February 15, 2019 in the
 7   District Court.        That complaint, Temecula Valley Unified
 8   School District v. Wendy Housman and Erin Larkin, Case
 9   No. CV 19-0293 JGB (KKx) sought “reasonable attorneys
10   fees” against Plaintiff under 20 U.S.C. § 1415(i)(3)(B)
11   (i)(III), alleging that Plaintiff had filed a complaint
12   an “improper purpose, such as to harass, to cause
13   unnecessary delay, or to needlessly increase the cost of
14   litigation.”       TVUSD failed to acknowledge that Plaintiff
15   was never a party to either the two OAH hearings or to
16   District Court Case No. EDCV 17-01381 JGB (KKx).
17         33. TVUSD’s complaint for fees pursuant to IDEA’s
18   20 U.S.C. § 1415(i)(3)(B)(i)(III) was filed six months
19   after the District Court’s affirmation of the OAH
20   Decision, well beyond the timeline for filing a motion

21   for attorney’s fees for that matter pursuant to IDEA.

22         34. TVUSD and its counsel actively pursue and

23   prosecute the District Court complaint against Plaintiff

24   and Wendy Housman, despite knowing that Plaintiff had not

25   been “a parent of a student with a disability” who had

26
     filed any complaint against TVUSD in 2016 or beyond.

27
           35. To defend against TVUSD’s federal complaint,

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     Plaintiff hired counsel, Tania Whiteleather, to represent


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     Case 5:21-cv-00730-JWH-SHK Document 1 Filed 04/23/21 Page 9 of 15 Page ID #:9




 1   her, incurring significant attorney’s fees in the
 2   process.
 3         36. Over the period of more than a year, TVUSD
 4   pursued and prosecuted its case against Plaintiff,
 5   serving Requests for Interrogatories, Requests for
 6   Production, and Requests for Admissions to both
 7   defendants.       The discovery responses TVUSD received from
 8   both defendants stated the very facts alleged here:
 9   1) Kylie Larkin had been the sole petitioner in the
10   underlying OAH case, 2) Kylie Larkin had been the only
11   plaintiff in the prior District Court case against TVUSD,
12   3) Plaintiff Erin Larkin had never been appointed either
13   conservator or guardian ad litem for Kylie Larkin and had
14   no authority to act for her in the OAH bifurcated
15   hearings or in the prior District Court case.
16   Plaintiff’s discovery responses confirmed the fact that
17   Plaintiff had not been a party to either OAH hearing or
18   to the District Court case.             The discovery responses also
19   confirmed that Plaintiff was not a parent who filed any
20   complaint against TVUSD in 2016.

21         37. Despite the discovery responses TVUSD received,

22   it continued to pursue and prosecute its action against

23   Plaintiff for fees for her having filed a frivolous

24   complaint against TVUSD or filed a complaint against

25   TVUSD for an improper purpose.

26
           38. On March 17, 2020, TVUSD filed a Motion for

27
     Summary Judgment against both defendants.                 The motion

28
     contained 200 statements of undisputed fact.


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     Case 5:21-cv-00730-JWH-SHK Document 1 Filed 04/23/21 Page 10 of 15 Page ID #:10




 1            39. Plaintiff’s attorney, working with Wendy Housman,
 2    spent significant time preparing Plaintiff’s opposition
 3    to TVUSD’s Motion for Summary Judgment.                 As has been
 4    previously detailed for the Court in a motion for fees
 5    pursuant to IDEA pursuant to 20 U.S.C. § 1415, Counsel
 6    for Plaintiff spent over 950 hours to review the two
 7    hearing transcripts and the District Court pleadings,
 8    review all authority cited by TVUSD in its MSJ, research
 9    related authority, and outline, draft, refine, and
10    finalize the pleadings required for Plaintiff’s
11    Opposition to the MSJ.           Overall, Plaintiff’s counsel
12    expended 198.60 hours defending Plaintiff in TVUSD’s
13    action for fees pursuant to 20 U.S.C. § 1415(I)
14    (3)(B)(III); Plaintiff’s incurred attorney’s fees are
15    over $100,000,
16            40. On April 24, 2020, the Court, having reviewed
17    TVUSD’s Motion for Summary Judgment, Plaintiff’s and
18    Defendant Housman’s Oppositions, and all related
19    pleadings, denied that motion.              The Court then, sua
20    sponte, granted Summary Judgment in favor of Defendants.

21            41. The Court found that Kylie’s case (emphasis

22    added) was not frivolous and that, as Kylie Larkin’s suit

23    was not frivolous, the Court was not required to

24    determine if it were filed for an improper purpose.                     The

25    District Court denied TVUSD’s MSJ and, sua sponte,

26
      granted summary judgment to Plaintiff and her co-

27
      defendant.
      /////
28


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     Case 5:21-cv-00730-JWH-SHK Document 1 Filed 04/23/21 Page 11 of 15 Page ID #:11




 1                            FIRST CAUSE OF ACTION
 2          For Damages Against TVUSD For Its Retaliation
              Against Plaintiff For her Advocacy Pursuant
 3           To the Americans with Disabilities Act And
            Section 504 of the Rehabilitiation Act of 1973
 4
            42. Plaintiff incorporates by reference each and
 5
      every allegation of Paragraphs 1 through 41 of the
 6
      Complaint as though fully set forth herein.
 7
            43. Pursuant to both Title II of the Americans with
 8
      Disabilities Act, Section 12132, and Section 504 of the
 9
      Rehabilitation Act of 1973, 29 U.S.C. § 794(a), (a)(2),
10
      TVUSD, as a public entity, could not discriminate against
11
      any individual
12
              ...because that individual has opposed any
13
             act or practice made unlawful by this part,
14
             or because that individual made a charge,
15
             testified, assisted, or participated in any
16
             manner in an investigation, proceeding, or
17
             hearing under the Act or this party.
18
19    42 U.S.C. § 12132
20          44. Congress has limited the discrimination and

21    retaliation prohibitions in Section 504 only to persons

22    with disabilities; in fact, because individuals with

23    disabilities may need assistance with protecting their

24    rights, retaliation against any person who offers such

25    assistance to a person with a disability is also

26
      prohibited under Section 504.

27
            45. In the underlying administrative due process

28
      case and in the District Court appeal, Plaintiff assisted


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     Case 5:21-cv-00730-JWH-SHK Document 1 Filed 04/23/21 Page 12 of 15 Page ID #:12




 1    her daughter, Kylie Larkin, by and at her daughter’s
 2    request.      Plaintiff’s assistance - attending the due
 3    process hearings, providing information to the advocate
 4    and later to Kylie’s hired attorney, and testifying in
 5    the administrative hearing - were all at the request of
 6    her daughter, Kylie, and for the purpose of assisting
 7    Kylie with vindication of her civil rights.
 8          46. Not once did Plaintiff act on behalf of Kylie.
 9    Not once did she have authority to direct the OAH hearing
10    or the District Court litigation.               No durable power of
11    attorney, Court order, or other authority provided
12    Plaintiff with the ability or right to act or make
13    decisions for Kylie Larkin.
14          47. Although Plaintiff was the parent of Kylie
15    Larkin, Plaintiff never filed any due process complaint
16    or District Court complaint against TVUSD for Kylie
17    Larkin in 2016 and beyond.            TVUSD and its counsel were
18    well aware of that fact as a direct result of counsel’s
19    representation of TVUSD in the OAH hearings and District
20    Court matter.

21          48. Despite the clear and written information in both

22    the two OAH hearings and in the District Court that

23    Plaintiff Erin Larkin was never a party and had never

24    participated in any manner in the filing of the 2016 due

25    process complaint or the District Court matter against

26
      TVUSD, that district, TVUSD, and its counsel filed and

27
      pursued an action against Plaintiff for TVUSD’s attorneys

28
      fees.


                                            12
     Case 5:21-cv-00730-JWH-SHK Document 1 Filed 04/23/21 Page 13 of 15 Page ID #:13




 1          49. TVUSD and its counsel knew that Plaintiff had
 2    not filed a complaint for an improper purpose for even
 3    filed a frivolous complaint with OAH or the District
 4    Court simply because Plaintiff never filed any of the
 5    complaints in 2016 and going forward against TVUSD.
 6          50. TVUSD’s action in Temecula Valley Unified
 7    School District v. Wendy Housman and Erin Larkin, Case
 8    No. CV 19-0293 JGB (KKx) lacked any basis and the claim
 9    that Plaintiff was a parent who filed a complaint against
10    TVUSD was contradicted by all facts known to TVUSD and to
11    its counsel.
12          51. Had Plaintiff not attempted to assist her
13    daughter, Kylie Larkin, with her OAH IDEA due process
14    hearings and subsequent District Court complaint, she
15    would not have been the target TVUSD’s unfounded and
16    baseless complaint.
17          52. Without any valid basis for any fees action
18    against Plaintiff, TVUSD and its counsel prosecuted its
19    2019 District Court complaint, vigorously pursuing
20    discovery and a Motion for Summary Judgment.                  Without any

21    valid basis for pursuing an action for fees against

22    Plaintiff for Student v. Temecula Valley Unified School

23    District, Case No. 2016060313 or for Kylie Larkin v.

24    Temecula Valley Unified School District, Case No. EDCV

25    17-01381 JGB (KKx), the actions of TVUSD and its counsel

26
      were retaliatory and meant to both punish Plaintiff for

27
      her assistance to her daughter, Kylie, and to serve as a

28
      warning to anyone else who might dare to assist any


                                            13
     Case 5:21-cv-00730-JWH-SHK Document 1 Filed 04/23/21 Page 14 of 15 Page ID #:14




 1    individual with a disability to protect that individual’s
 2    civil rights.
 3                            PRAYER FOR RELIEF
 4          WHEREFORE, Plaintiff requests relief as follows:
 5          1.    The Court issue a declaration that Defendants’
 6                conduct alleged herein has violated and
 7                continues to violate Title II of the ADA
 8                (42 U.S.C. §§ 12101, et seq) and Section
 9                504 of the Rehabilitation Act of 1973 as
10                amended (29 U.S.C. §§ 794, et seq,) and
11                was retaliatory and retaliation against
12                Plaintiff as a direct result of her
13                actions in assisting and attempting to
14                protect the rights of her daughter, Kylie
15                Larkin, an individual with a disability;
16          2.    That the Court award Plaintiff damages
17                in the form of reasonable attorneys fees
18                and costs she incurred in defending TVUSD’s
19                unreasonable and baselines action against
20                her;

21          3.    That the Court award Plaintiff damages

22                in the form of reasonable attorney’s fees

23                and costs incurred in the prosecution of

24                this complaint for retaliation;

25          4.    That the Court award any other damages as

26
                  are appropriate and as may be allowed under

27
                  law;

28
            5.    That the Court order such additional relief


                                            14
     Case 5:21-cv-00730-JWH-SHK Document 1 Filed 04/23/21 Page 15 of 15 Page ID #:15




 1                as the Court determines to be appropriate.
 2    Dated: April 23, 2021
 3
                                       By: /s/ Tania L. Whiteleather
 4                                           TANIA L. WHITELEATHER
                                             Attorney for Plaintiff
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